                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA                         :
                                                  :    CASE NO. 1:20-CR-77
                                                  :
                        v.
                                                  :    JUDGE BLACK
                                                  :
 LARRY HOUSEHOLDER, et al.,
                                                  :    OBJECTIONS TO JURY
                                                  :    INSTRUCTIONS AND VERDICT
                   Defendants.
                                                  :    FORM
                                                  :
                                                  :
                                                  :
                                                  :

                UNITED STATES’ OBJECTIONS TO DEFENDANTS’
              PROPOSED JURY INSTRUCTIONS AND VERDICT FORM

       The United States of America, through the undersigned Assistant United States Attorneys,

hereby submits the following objections to Defendants’ Proposed Jury Instructions and Verdict

Form. (Doc. 174; Doc. 174-1).

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                                           United States Attorney


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                                          Objections

Defendants’ Proposed Jury Instruction No. 12 (Definition of Crime Charged: RICO Conspiracy)

   -   The United States objects to Instruction No. 12 and requests that the Court use United
       States’ Proposed Instruction No. 4 (Doc. 175 at 4138) for the following reasons:

           o The third element omits that a defendant may also be “employed by” the enterprise.

           o The fifth element wrongly imposes a willful mens rea. See United States v. Rich,
             14 F.4th 489, 492 (6th Cir. 2021) (requiring proof that a conspirator “knowingly
             participate in the conduct of the affairs of the enterprise through a pattern of
             racketeering activity”).

           o The sixth element is so convoluted that it threatens to misstate the government’s
             burden by imposing a temporal requirement and heightened mens rea.

           o Elements four through six risk confusing the jury by separating the defendant’s
             joining the conspiracy into three separate elements; by referring to “a pattern of
             racketeering activity” and then to “at least two other acts of racketeering activity”
             interchangeably without explanation; by incorporating the definition of conspiracy
             into the underlying elements; and by referring to “other acts” of racketeering.

Defendants’ Proposed Jury Instruction No. 14 (First Element: Existence of an Enterprise)

   -   The United States objects to Proposed Jury Instruction No. 14 and requests that the Court
       use the United States’ Proposed Instruction No.5 (Doc. 175 at 4139) for the following
       reasons:

           o The instruction fails to explain that the enterprise “need not have a hierarchical
             structure and its members need not have fixed roles” and that “different members
             may perform different roles at different times.” Boyle v. United States, 556 U.S.
             938, 948 (2009); Third Circuit Pattern Instruction 6.18.1962C-2.




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Defendants’ Proposed Instructions No. 16 (Third Element: Association with the Enterprise)

   -   The United States objects to Proposed Instructions No. 16 and requests that the Court use
       the United States’ Proposed Instruction No. 7 (Doc. 175 at 4142) for the following reasons:

          o The instruction omits that the government may alternatively prove that a defendant
            was employed by the enterprise.

Defendants’ Proposed Instruction No. 17 (Fourth Element: Participate in the Affairs of an
Enterprise through a Pattern of Racketeering Activity)

   -   The United States objects to Proposed Instruction No. 17 and requests that the Court use
       the United States’ Proposed Instruction No. 8 (Doc. 175 at 4143-45) for the following
       reasons:

          o The instruction omits Sixth Circuit Pattern Instruction 3.06 (Unindicted, Unnamed,
            or Separately Tried Coconspirators). The Court gave a slightly modified version of
            this instruction pursuant to the parties’ agreement following the testimony of a
            FirstEnergy witness, so the defendants agree this instruction is applicable. And the
            jury will continue to hear evidence of unindicted co-conspirators throughout the
            trial, making the instruction appropriate in the final instructions at the end of trial.

Defendants’ Proposed Instruction No. 18 (Fifth Element: Defendants’ Connection to the Alleged
Conspiracy)

   -   The United States objects to Proposed Instruction No. 18 and requests that the Court use
       the United States’ Proposed Instruction No. 8 (Doc. 175 at 4143-45) for the following
       reasons:

          o Sixth Circuit Pattern Instruction 3.03 is confusing as applied to RICO conspiracy
            because it speaks in terms of a defendant’s relationship with a conspiracy instead
            of an enterprise. Defendant cites no pattern jury instructions that recommend its use
            (or its content) in this context.

          o The government’s instruction correctly explains the required relationship between
            a defendant and the enterprise and the required agreement to participate in the
            objective of the enterprise to engage in a pattern of racketeering activity.

Defendants’ Proposed Instruction No. 19 (Sixth Element: Pattern of Racketeering Activity)

   -   The United States objects to Proposed Instruction No. 19 and requests that the Court use
       the United States’ Proposed Instruction No. 8 (Doc. 175 at 4143-45) for the following
       reasons:

          o The first paragraph of the instruction misstates the law by requiring that “the
            defendant engaged in a pattern of racketeering activity.”

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           o The instruction misstates the law on continued activity by stating that “continued
             activity is sufficiently established when predicate acts can be attributed to a
             defendant operating as part of a long-term association. . . .”

                     The government’s instruction correctly provides: “To prove that the
                      racketeering acts pose a threat of continued racketeering activity, the
                      government must establish that the acts are part of a long-term association
                      that existed for criminal purposes.”

           o The instruction repeatedly misstates the law on unanimity by requiring the jury “to
             unanimously find that the defendant committed (or agreed to commit or agreed
             would be committed by a conspirator) at least two acts of racketeering activity.”
             (emphasis added). The defendants’ separate unanimity instruction (Proposed
             Instruction No. 49) also misstates the law and is inconsistent with the unanimity
             language in this instruction.

                     The government’s instruction correctly provides: “To convict a defendant
                      of the RICO conspiracy offense, your verdict must be unanimous as to
                      which type or types of predicate racketeering activity a defendant agreed
                      would be committed.” (Doc. 175 at 4161) (emphases in original).) The
                      defendants recognize in their authority discussion for Proposed Instruction
                      No. 49 that the government’s proposed instruction accurately states the law.

                     Unanimity should be included as a separate instruction to avoid jury
                      confusion.

           o The instruction is confusing. For example, it suggests that “deciding that two
             [racketeering] acts were committed . . . may not be enough for you to find that a
             pattern exists” but does not specify why. The instruction should state what the jury
             is required to find and explain those requirements.

Defendants’ Proposed Instruction No. 20 (First Racketeering Act: Public Official Honest Services
Wire Fraud)

   -   The United States objects to Proposed Instruction No. 20 and requests that the Court use
       United States’ Proposed Instruction No. 8A (Doc. 175 at 4146-52) for the following
       reasons:

           o The introductory language for this predicate (and every other predicate) states that
             the jury must find “that the government has proved each and every one of the
             following elements beyond a reasonable doubt.” That is misleading. The
             government need only prove that the defendant agreed that he, or a conspirator,
             would commit two or more racketeering acts. The United States objects to this
             language for all predicates.

           o The concluding language for this predicate (and for every other predicate) also
             wrongly suggests that each racketeering act must have been committed by one of

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   the defendants. (E.g., Doc. 174 at 4062 (last paragraph).) The United States objects
   to this language for all predicates.

o By using “defendant” throughout, the language of this predicate (and every other
  predicate) wrongly suggests that the jury must find that one of the defendants
  actually committed the predicates. The government made the same mistake in its
  proposed instructions and recommends changing “defendant” to “person” when
  describing the elements of the predicates.

o The instruction misstates the law and does not follow the Sixth Circuit Pattern
  Instruction as to both the first and fourth elements:

          First Element

               •   The mens rea for public official honest services fraud is knowingly,
                   not “voluntarily and intentionally.” Sixth Circuit Pattern Instruction
                   10.02

               •   The instruction wrongly states that the defendant must have devised
                   a scheme, but a defendant is also guilty if he knowingly participated
                   in such a scheme. Sixth Circuit Pattern Instruction 10.02.

          Fourth Element

               •   The law requires the use of an interstate facility to be in furtherance
                   of the scheme, not in furtherance of some essential step. Sixth
                   Circuit Pattern Instruction 10.02. The Sixth Circuit Pattern does not
                   require identification of the specific facility.

o The definition of scheme to defraud again misstates the mens rea and inaccurately
  says that good faith is a complete defense to the crime. (See Doc. 177 at 4328-30;
  Doc. 180 at 4352; United States v. Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6,
  2022), Doc. #202.)

o The definition of bribery fails to account for the fact that (1) solicitation of a
  payment in return for official action is quid pro quo bribery; and (2) receiving a
  bribe knowing it was provided in return for a public official performing or agreeing
  to perform an official act is quid pro quo bribery. United States v. Sittenfeld, No.
  1:20-cr-142 (S.D. Ohio July 6, 2022), Doc. #202 PageID 3213; United States v.
  Evans, 504 U.S. 255, 268 (1992) (quid pro quo bribery in the campaign contribution
  context occurs where “a public official has obtained a payment to which he was not
  entitled, knowing that the payment was made in return for official acts”); accord
  United States v. Blandford, 33 F.3d 685, 696 (6th Cir. 1994); Sixth Circuit Pattern
  17.02.

o The instruction fails to explain what is not a defense to bribery. (Doc. 175 at 4149.)
  These non-defenses should be included. (Sixth Circuit Pattern Instruction 17.02;
  United States v. Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6, 2022), Doc. #202
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   PageID 3215-16) (including non-defenses from Sixth Circuit Pattern 17.02 in
   honest services wire fraud instruction).)

o The definition of official act is incomplete.

          The definition omits that “the decision or action may include using an
           official position . . . to advise another public official with the intent to
           pressure the official to perform an official act.” (Doc. 175 at 4150 (citing
           McDonnell v. United States, 579 U.S. 550, 574 (2016)). Although the
           “advise” language is not contained in the Sixth Circuit Pattern definition of
           “official act,” see Sixth Circuit Pattern 17.02, the Supreme Court made clear
           in McDonnell that, “to advise another official, knowing or intending that
           such advice will form the basis for an ‘official act’ by another official,”
           qualifies as “official action.” 579 U.S. at 574. Evidence of this type of
           official action will be presented at trial, and Sixth Circuit Pattern Instruction
           17.02 does not account for this type of official action. The government’s
           proposed additions to the Sixth Circuit Pattern are therefore appropriate. See
           Sixth Circuit Pattern, Introduction (noting that no set of pattern instructions
           cover all variables, and the instructions should be tailored to the facts of
           each case).

          The definition omits that the “public official need not have actually
           performed an official act, or even intended to do so.” (United States v.
           Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6, 2022), Doc. #202 PageID
           33217).

          The government’s proposed instruction (Doc. 175 at 4149-50) comports
           with McDonnell v. United States, 59 U.S. 550 (2016) and tracks the
           instruction provided in United States v. Sittenfeld, No. 1:20-cr-142 (S.D.
           Ohio July 6, 2022), Doc. #202 PageID 3215-16.

o The language about campaign contributions (Doc. 174 at 4061), which comes from
  United States v. Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6, 2022), does not apply
  to this case.

          In Sittenfeld, the bribe payments were made to the defendant’s PAC in the
           form of campaign contributions.

          In this case, in contrast, the bribe payments were made to a 501(c)(4)—a
           social welfare organization that cannot receive campaign contributions
           controlled by a candidate for his personal benefit. The government’s
           proposed instructions included the heightened “explicit” quid pro quo
           standard set forth in McCormick/Evans for campaign contribution bribery
           cases, out of an abundance of caution, despite the fact that the evidence
           shows that the 501(c)(4) payments here were not campaign contributions.
           Householder does not have a First Amendment right to receive unlimited
           and non-disclosed contributions through his misuse of a 501(c)(4)—i.e., a
           501(c)(4) that he controls for his personal benefit and contrary to the law.
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                     Thus, although the explicit quid pro quo standard arguably does not apply
                     here, the defendants are nevertheless receiving the benefit of this
                     instruction. Under the facts here, they are certainly not entitled to any
                     additional First Amendment instruction on this point.

          o The instruction omits definitions of public official, material misrepresentation or
            concealment, wire communication, and interstate commerce. (See Doc. 175 at
            4147, 4151.) It also omits any description of what honest services means. (Id. at
            4147.)

Defendants’ Proposed Instruction No. 21 (Second Racketeering Act: Private Honest Services
Fraud)

   -   The United States objects to Proposed Instruction No. 21 and requests that the Court use
       United States’ Proposed Instruction No. 8E (Doc. 175 at 4156-59) for the following
       reasons:

          o The instruction misstates the law and does not follow Sixth Circuit Pattern
            Instruction 10.02 as to both the first and fourth elements:

                    First Element

                         •   The mens rea for private sector honest services fraud is knowingly,
                             not “voluntarily and intentionally.” Sixth Circuit Pattern Instruction
                             10.02

                         •   The instruction inaccurately states that the defendant must have
                             devised a scheme, but a defendant is also guilty if he knowingly
                             participated in such a scheme. Sixth Circuit Pattern Instruction
                             10.02.

                    Fourth Element

                         •   The law requires the use of an interstate facility to be in furtherance
                             of the scheme, not in furtherance of some essential step. Sixth
                             Circuit Pattern Instruction 10.02. The Sixth Circuit Pattern
                             Instruction does not require identifying the specific wire facility.

          o The definition of scheme to defraud again misstates the mens rea and inaccurately
            says that good faith is a complete defense to the crime. (See Doc. 177 at 4328-30;
            Doc. 180 at 4352; United States v. Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6,
            2022), Doc. #202.)

          o The instruction states that “it is not sufficient that a payment from the defendant to
            the employee created an undisclosed conflict of interest or constituted undisclosed
            self-dealing by the employee.” This language is confusing and should be stricken
            because the government is proceeding under a bribery theory, not a conflict-of-

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              interest theory. See Skilling v. United States, 561 U.S. 358, 410 (2010) (holding that
              conflict-of-interest prosecutions are excluded from § 1346).

          o The instruction incorrectly imposes an “official act” requirement. (Doc. 174 at
            464.) There is no such requirement for private sector honest services fraud and this
            paragraph has no basis in law. (See Doc. 113 at 2595-96.)

          o The instruction wrongly implies that breach of a fiduciary duty must include the
            disclosure of trade secrets or the disclosure of confidential business information.
            That is not the law. (Doc. 113 at 2597.) The law requires the actual or intended
            breach of an employee’s fiduciary duty—there is no requirement that this breach
            involve disclosure of trade secrets or confidential information. (Id.) Because the
            government is not alleging that the breach of fiduciary duty here involved
            disclosure of trade secret information or confidential information, this instruction
            would be particularly misleading.

          o The instruction defines trade secrets and confidential business information. For the
            reasons explained above, those concepts are not relevant here. Including these
            definitions would serve no purpose other than to confuse the jury.

          o The instruction omits definitions of thing of value, wire communication, and
            interstate commerce. (Doc. 175 at 4147, 4151.) It also omits any description of what
            honest services means in the private sector context. (Id. at 4156-57.)

Defendants’ Proposed Instruction No. 22 (Third Racketeering Act: Extortion Under Color of
Official Right)

   -   The United States objects to Proposed Instruction No. 22 and requests that the Court use
       United States’ Proposed Instruction No. 8B (Doc. 175 at 4152-54) for the following
       reasons:

          o The proposed instruction misstates the law as to elements two, three, and four.

                    Second Element

                         •   The instruction does not follow Sixth Circuit Pattern Instruction
                             17.02 and impermissibly narrows the conduct covered. The
                             instruction should state: the defendant obtained, accepted, agreed to
                             accept, or received property. (Doc. 175 at 4152 (emphasis added);
                             United States v. Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6,
                             2022), Doc. #202 at 3226.)

                    Third Element

                         •   The instruction impermissibly narrows the conduct covered by
                             excluding “accepted, agreed to accept, or received” as detailed
                             above.

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                         •   The instruction does not require specific official action, as set forth
                             in United States v. Evans, 504 U.S. 255, 268 (1992).

                         •   The instruction fails to state that agreeing to take specific official
                             action suffices. (Id.; Doc. 175 at 4152; United States v. Sittenfeld,
                             No. 1:20-cr-142 (S.D. Ohio July 6, 2022), Doc. #202 at 3227.)

                     Fourth Element

                         •   The instruction does not follow Sixth Circuit Pattern Instruction
                             17.02, which provides that “interstate commerce was, or would have
                             been, affected . . . .”

           o The instruction does not define bribe—i.e., require an explicit quid pro quo—
             consistent with public honest services wire fraud. The government’s proposed
             instruction does so. (Doc. 175 at 4152-53.)

           o The instruction excludes the non-defenses to bribery as Proposed Instruction No.
             20 did with respect to Public Official Honest Services Fraud. These non-defenses
             are set forth in Sixth Circuit Pattern 17.02.

           o The definition of official act is incomplete and omits additional clarifying
             information, as explained in the government’s objections to Proposed Instruction
             No. 20.

           o The instruction omits the following paragraph from Sixth Circuit Pattern
             Instruction 17.02 regarding the meaning of conduct affecting interstate commerce:
             “This includes obtaining money that belonged to a business which customarily
             purchased goods from outside the State of Ohio, or that engaged in business outside
             the State of Ohio if defendant’s conduct made that money unavailable to the
             business entity for the purchase of such goods or the conducting of such business.
             It is not necessary for you to find that there was an actual effect on interstate
             commerce.”

Defendants’ Proposed Instruction No. 23 (Fourth Racketeering Act: Travel in Aid of Racketeering)

   -   The United States objects to Proposed Instruction No. 23 and requests that the Court use
       United States’ Proposed Instruction No. 8D (Doc. 175 at 4155-56) for the following
       reasons:

           o The introductory language to this predicate is inconsistent with the language of the
             other predicates and is not an accurate statement of law. It says: “The indictment
             accuses the defendants [or state particular defendant] committed Travel in Aid of
             Racketeering. In order to find [name] committed this act of racketeering activity,
             you must find beyond a reasonable doubt the following elements.”



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          The jury does not need to find that a defendant committed a particular
           racketeering act. Nor does the indictment accuse the defendants of
           committing particular predicate racketeering acts.

o The Eleventh Circuit Pattern Instruction cited only covers interstate travel. It does
  not cover use of a facility in interstate commerce. That pattern is thus inapt here,
  where the government alleges that a conspirator used a facility in interstate
  commerce with the intent to promote, manage, establish, or carry on unlawful
  activity. The Seventh Circuit Pattern should be followed. (Doc. 175 at 4155-56
  (citing Seventh Circuit Pattern § 1952).)

o The instruction misstates the law as to the second and third elements:

          Second Element
              • The instruction impermissibly narrows the conduct covered by the
                 statute by requiring the defendant to travel with the specific intent
                 to promote, manage, establish, or carry on unlawful activity. The
                 statute also criminalizes using a facility in interstate commerce with
                 the intent to promote, manage, establish, or carry on unlawful
                 activity.

          Third Element

               •   The instruction wrongly states that the defendant must have
                   knowingly committed an act in performing or attempting to perform
                   the unlawful activity “while traveling.”

o The proposed definition of “interstate commerce” is unnecessary. The government
  is relying on the use of a facility in interstate commerce.

o The proposed definition of “facility in interstate commerce” is incorrect. A facility
  in interstate commerce does not require “the facility [to] cross state lines.” (Doc.
  174 at 4070.) See United States v. Weathers, 169 F.3d 336, 342–43 (6th Cir. 1999);
  United States v. Eisner, 533 F.2d 987, 992 (6th Cir. 1976).

o The instruction misstates the law when it says that “the government must prove
  [beyond] a reasonable doubt that the defendant was . . . aware that the facility in
  fact crossed state lines.”

          Defendants cite United States v. Alsobrook, 620 F.2d 139, 143-44 (6th Cir.
           1980), for the proposition that knowledge of interstate travel or use of a
           facility in interstate commerce is required. The Sixth Circuit has since
           “acknowledged several times that this rule is likely untenable in light of the
           Supreme Court’s decision in United States v. Yermian, 468 U.S. 63 (1984).”
           United States v. Tragas, 727 F.3d 610, 618 n.1 (6th Cir. 2013). Yermian
           held that a criminal defendant need not have knowledge of a jurisdictional
           fact to support liability under a federal statute. Yermian, 468 U.S. at 68–69;
           see Rehaif v. United States, -- U.S. --, 139 S. Ct. 2191, 2196 (2019)
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                     (“Because jurisdictional elements normally have nothing to do with the
                     wrongfulness of the defendant's conduct, such elements are not subject to
                     the presumption in favor of scienter.”).

                     The defendants cite no authority for their position that the Travel Act
                     requires knowledge that a wire or banking transfer using a facility in
                     interstate commerce in fact crossed state lines. In fact, this is inconsistent
                     with the Sixth Circuit’s application of the Travel Act. United States v.
                     Weathers, 169 F.3d 336, 342–43 (6th Cir. 1999).

                         •   To the extent that the Court imposes a knowledge requirement, such
                             a requirement would require a conspirator to knowingly use a
                             facility in interstate commerce.

Defendants’ Proposed Instruction No. 24 (Fifth Racketeering Act: Money Laundering)

   -   The United States objects to Proposed Instruction No. 24 and requests that the Court use
       United States’ Proposed Instruction No. 8F (Doc. 175 at 4159-60) for the following
       reasons:

          o The instruction’s fourth element omits alternative language, specifically “nature,
            location, and ownership.”

          o The definition of financial transaction is unnecessarily long and confusing because
            the government is only relying on one part of the definition. (Doc. 175 at 4159
            (defining financial transaction to include “a transaction that affects interstate or
            foreign commerce involving the movement of funds by wire or other means”).

          o The definition of proceeds should include “any property derived from, obtained, or
            retained . . . .” The proposed instruction omits “obtained, or retained.”

          o The instruction should define specified unlawful activity and instruct that the
            offenses are all felonies. (Doc. 175 at 4159.)


Defendants’ Proposed Instruction No. 25 (Sixth Racketeering Act: Engaging in Monetary
Transactions in Property Derived from Specified Unlawful Activity)

   -   The United States objects to Proposed Instruction No. 25 and requests that the Court use
       United States’ Proposed Instruction No. 8G (Doc. 175 at 4160-61) for the following
       reasons:

          o By instructing that “you should apply those definitions here,” the instruction could
            be read to mean that the defendant must be convicted of the specified unlawful
            activity beyond a reasonable doubt. But that is not the law. The Court should add
            an instruction that says: “A defendant may be convicted of [engaging in monetary
            transactions in property derived from specified unlawful activity] even if he is not
            a party to, much less convicted of, the specified unlawful activity.” E.g., United
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              States v. Smith, 46 F.3d 1223, 1234 (1st Cir. 1995) (“There is no requirement that
              the defendant must have committed the crime … from which the property was
              derived.” (internal quotation marks omitted)). An identical instruction should be
              given for concealment money laundering.

Defendants’ Proposed Instruction No. 26 (Seventh Racketeering Act: Bribery Under Ohio Law)

   -   The United States objects to Proposed Instruction No. 26 and requests that the Court use
       United States’ Proposed Instruction No. 8C (Doc. 175 at 4154-55) for the following
       reasons:

          o The proposed instruction does not follow the Ohio pattern jury instructions and
            misstates the law:

                    There is no requirement that the jury find the offense was committed on a
                     certain date. As the Court has recognized, there is not requirement that the
                     bribery happened at all in a RICO conspiracy charge. (Doc. 172 at 4014.)

                    The instruction omits “any valuable thing,” as set forth in the Ohio pattern
                     instruction.

                    The instruction omits “or improperly influence,” as set forth in the Ohio
                     pattern instruction.

                    The instruction omits “to taint; to affect,” from the definition of “corrupt,”
                     as set forth in the Ohio pattern instruction.

                    The proposed definition of contribution is narrower than that provided by
                     Ohio law. “Valuable thing or valuable benefit” should be defined to include
                     a contribution to a 501(c)(4) organization, as the instruction does later.
                     (Doc. 174 at 4078.)

                    The instruction imposes explicit quid pro quo and official act requirements
                     on the Ohio bribery statute. A quid pro quo element should not be engrafted
                     onto state bribery statutes under federal RICO. See United States v.
                     Campbell, 2005 WL 6436620, *7 (N.D. Ga Oct. 25, 2005) (“McCormick
                     did not purport to create a rule of universal application to the meaning of
                     state law bribery under RICO—the Court in McCormick was construing a
                     particular federal statute.”) (citing cases); United States v. Allen, 10 F.3d
                     405, 411 (7th Cir.1993) (“McCormick interpreted a federal statute; it created
                     a rule for interpreting federal statutes, not a universal rule of statutory
                     construction. It is the job of Indiana's courts to interpret Indiana's bribery
                     statute, and we are bound by the Indiana courts' construction.”); United
                     States v. Porter, 886 F.3d 562, 565-56 (6th Cir. 2018) (McDonnell limited
                     interpretation of the term “official act” as it appears in 18 U.S.C. § 201 and
                     does not apply to federal-program bribery); United States v. Terry, 707 F.3d
                     607, 612 (6th Cir. 2013) (Ohio bribery statute has similar language to
                     federal-program bribery).
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Defendants’ Proposed Instruction No. 27 (Not Here to Decide or Opine on Policy)

   -   The United States objects to Proposed Instruction No. 27 and requests that it be struck for
       the following reasons:

          o By drawing jurors’ attention to the issues, this instruction will have the opposite
            effect.

Defendants’ Proposed Instruction No. 28 (Campaign Contributions as Bribes/Defendants Not
Charged with Campaign Finance Law Violations)

   -   The United States objects to Proposed Instruction No. 28 and requests that it be struck for
       the following reasons:

          o The language about campaign contributions (Doc. 174 at 4061), which comes from
            United States v. Sittenfeld, No. 1:20-cr-142 (S.D. Ohio July 6, 2022), does not apply
            to this case

                     In Sittenfeld, the bribe payments were made to the defendant’s PAC in the
                      form of campaign contributions.

                     In this case, in contrast, the bribe payments were made to a 501(c)(4)—a
                      social welfare organization that cannot receive campaign contributions
                      controlled by a candidate for his personal benefit. The government’s
                      proposed instructions included the heightened “explicit” quid pro quo
                      standard set forth in McCormick/Evans for campaign contribution bribery
                      cases, out of an abundance of caution, despite the fact that the evidence
                      shows that the 501(c)(4) payments here were not campaign contributions.
                      Householder does not have a First Amendment right to receive unlimited
                      and non-disclosed contributions through his misuse of a 501(c)(4)—i.e., a
                      501(c)(4) that he controls for his personal benefit and contrary to the law.
                      Thus, although the explicit quid pro quo standard arguably does not apply
                      here, the defendants are nevertheless receiving the benefit of this
                      instruction. Under the facts here, they are certainly not entitled to any
                      additional First Amendment instruction on this point.

          o The first paragraph of the instruction wrongly states that campaign contributions to
            a 501(c)(4) organization with which a public official is associated are protected by
            the First Amendment unless they are bribe payments. Rather, contributions to
            501(c)(4)s are contrary to the law where they are made to a 501(c)(4) controlled by
            and for the personal benefit of a candidate for office, particularly given the lack of
            disclosure and transparency in 501(c)(4) contributions, both of which are key
            features of legal campaign contributions.

          o The instruction wrongly states that candidates for office “may solicit and accept
            contributions, including contributions to the 501(c)(4) in this case.” That is
            incorrect for the reasons explained above.
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Defendants’ Proposed Instruction No. 49 (Unanimity Required)

   -   The United States objects to Proposed Instruction No. 49 and requests that the Court use
       the unanimity instruction proposed by the government (Doc. 175 at 4161) for the following
       reasons:

          o The instruction misstates the law in multiple ways, is not supported by the
            authorities cited, and is inconsistent with the defendants’ prior unanimity
            instruction.

Defendants’ Proposed Verdict Form

   -   The United States objects to the Proposed Verdict Form for the following reasons:

          o The verdict form misstates the law by instructing that a defendant must have agreed
            that he or another conspirator “would intentionally commit” a type of predicate act.
            The mens rea for the agreement is knowingly.

          o The verdict form is misleading and will likely confuse the jury. It only has one
            blank for each type of racketeering act, incorrectly suggesting that the jury must
            find at least two different types of racketeering acts to convict. Rather, the
            defendants could have conspired with others to commit a pattern of racketeering
            activity involving a single predicate.

          o Given the correct unanimity instruction proposed by the government, and the fact
            that jurors are presumed to follow the Court’s instructions, a special verdict form
            is unnecessary. See United States v. Blackwell, 459 F.3d 739, 766–67 (6th Cir.
            2006) (noting the “general rule against special verdicts in criminal cases,” and
            holding that the district court's refusal to grant the defendant’s request for a special-
            verdict form was not an abuse of discretion); United States v. Wilson, 629 F.2d 439,
            444 (6th Cir. 1980) (“[i]n general, special verdicts are not favored and may in fact
            be more productive of confusion than of clarity”) (quotation marks and citation
            omitted); United States v. Shenberg, 89 F.3d 1461, 1472 (11th Cir. 1996) (district
            court acted within its discretion in denying defendants’ request for special verdict
            form in RICO conspiracy prosecution).




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Objections to Defendant’s Proposed Jury

Instructions was served this 25th day of January 2023, electronically upon all counsel of record.




                                                     s/Matthew C. Singer
                                                     MATTHEW C. SINGER (IL 6297632)
                                                     Assistant United States Attorney




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